Case 3:17-cv-00072-NKM-JCH Document 566-11 Filed 09/26/19 Page 1 of 5 Pageid#:
                                   6756




                       EXHIBIT K
      Case 3:17-cv-00072-NKM-JCH Document 566-11 Filed 09/26/19 Page 2 of 5 Pageid#:
                                         6757



From:                                 Yotam Barkai
Sent:                                 Monday, August 19, 2019 11:11 AM
To:                                   Eli Mosley
Cc:                                   Jessica Phillips; Michael Bloch; James Kolenich; Yotam Barkai
Subject:                              RE: Conference Call on 8/8/17
Attachments:                          Exhibit A to Imaging Order.pdf


Mr. Kline:

Thank you for your email. We also need you to fill out a new Certification Form, as the Certification Form that you signed
at your deposition is incomplete and does not list your email addresses, passwords for your social media accounts, or
the Walmart phone that you testified about during your deposition. I have attached a new blank form to this email.
Please follow these instructions:

    1. Print and fill out the form.

    2. When you fill out the form, list all of your email addresses and social media accounts that may contain relevant
       documents, whether or not you previously listed them, and list the passwords for each email address and social
       media account.

             a. The email addresses that you are required to list include (but may not be limited to)
                eli.f.mosley@gmail.com, deplorabletruth@gmail.com, and eli.mosley@identityevropa.com.

             b. The Twitter accounts that you are required to list include (but may not be limited to) those that you
                listed on your prior form, which are ThatEliMosley, NotEliMosley, EliMosleyIE, Eli_Mosley_,
                Sheli_Shmosley, EliMosley, EliMosleyIsBack, and EliMosleyOH.

             c. The Facebook account that you listed on your prior form was Elliott Kline.

             d. The Gab account that you listed on your prior form was EliMosley.

    3. When you fill out the form, list all of your electronic devices that may contain relevant documents, whether or
       not you previously listed the device.

             a. These devices include (but may not be limited to) your iPhone 5, your personal home computer, and the
                Walmart phone that you testified about during your deposition, which you did not previously list.

    4. Sign and date the form.

    5. Scan or take a picture of the form, and email it back to me.

Please let us know if you have any questions about how to comply with these instructions.


Yotam Barkai
Associate

BOIES SCHILLER FLEXNER LLP
(t) +1 212 303 3643
      Case 3:17-cv-00072-NKM-JCH Document 566-11 Filed 09/26/19 Page 3 of 5 Pageid#:
                                         6758
(m) + 1 617 462 1353



From: Eli Mosley <eli.f.mosley@gmail.com>
Sent: Wednesday, August 14, 2019 1:15:42 PM
To: Michael Bloch <mbloch@kaplanhecker.com>
Cc: James Kolenich <jek318@gmail.com>
Subject: Re: FW: Conference Call on 8/8/17

Hello,

I just got my new phone up and running and the new number is                       . I sent out my old phone for
discovery but I will still maintain that phone for a bit longer before shutting it off.

Thanks,

On Fri, Aug 2, 2019 at 3:18 PM Michael Bloch <mbloch@kaplanhecker.com> wrote:

 Mr. Kline, please let us know as soon as possible which of the proposed times below work for you for a
 conference call with the Court so that we can let the Court know. Thanks.



 Michael Bloch | Kaplan Hecker & Fink LLP
 Counsel
 350 Fifth Avenue | Suite 7110
 New York, New York 10118
 (W) 929.367.4573 | (M) 646.398.0345
 mbloch@kaplanhecker.com




 From: KarenD@vawd.uscourts.gov <KarenD@vawd.uscourts.gov>
 Sent: Friday, August 2, 2019 8:55 AM
 To: alevine@cooley.com; Christopher Greene <cgreene@kaplanhecker.com>; dmills@cooley.com;
 eashwell@woodsrogers.com; Gabrielle E. Tenzer <gtenzer@kaplanhecker.com>; jphillips@bsfllp.com;
 brottenborn@woodsrogers.com; jlibling@bsfllp.com; Joshua Matz <jmatz@kaplanhecker.com>; Julie Fink
 <jfink@kaplanhecker.com>; kdunn@bsfllp.com; Michael Bloch <mbloch@kaplanhecker.com>;
 pbowman@bsfllp.com; rcahill@cooley.comrkaplan; Seguin L. Strohmeier <sstrohmeier@kaplanhecker.com>;
 wisaacson@bsfllp.co; m_ybarkai@bsfllp.co; eli.f.mosley@gmail.com
 Subject: Conference Call on 8/8/17
 Importance: High



 Judge Hoppe would like to have a conference call with plaintiff's counsel and Mr. Kline on August 8 to address Mr.
 Kline's compliance with his order of July 3, ECF No. 516, including that Mr. Kline appear for a deposition on Aug. 7.

 The judge is available on Aug. 8th at 8:30, 9:00, 9:30, 3:00 or 3:30.

 Please let me know what time works the best for you and I'll get the call set up.

 Thank you.
       Case 3:17-cv-00072-NKM-JCH Document 566-11 Filed 09/26/19 Page 4 of 5 Pageid#:
                                          6759

 Respectfully,

 Karen
 ____________________________
 Karen L. Dotson
 Courtroom Deputy for
 Hon. Joel C. Hoppe
 U.S. Magistrate Judge
 (540) 434-3181 ext. 2


 This email and its attachments may contain information that is confidential and/or protected from disclosure by the attorney-client, work product or other
 applicable legal privilege. If you are not the intended recipient of the email, please be aware that any unauthorized review, use, disclosure,
 dissemination, distribution, or copying of this communication, or any of its contents, is strictly prohibited. If you have received this communication in
 error, please notify the sender immediately and destroy all copies of the message from your computer system. Thank you.


This email and its attachments may contain information that is confidential and/or protected from disclosure by the attorney-client, work product or other
applicable legal privilege. If you are not the intended recipient of the email, please be aware that any unauthorized review, use, disclosure,
dissemination, distribution, or copying of this communication, or any of its contents, is strictly prohibited. If you have received this communication in
error, please notify the sender immediately and destroy all copies of the message from your computer system. Thank you.
Case 3:17-cv-00072-NKM-JCH Document 566-11 Filed 09/26/19 Page 5 of 5 Pageid#:
                                   6760



                  EXHIBIT A TO STIPULATION AND ORDER FOR THE
             IMAGING, PRESERVATION, AND PRODUCTION OF DOCUMENTS

        Consistent with the obligations under the “Stipulation and Order for the Imaging,

 Preservation, and Production of Documents,” I certify that:

        1.      The following are all the Social Media Accounts, as defined in ¶ 2(xi) of the

 Stipulation and Order, that contain potentially relevant Documents:

  Username            Provider/Platform Nature of Responsive Documents on Account




        2.      The following are all the Electronic Devices, as defined in ¶ 2(vi) of the

 Stipulation and Order, that I have possessed since January 1, 2017 that may contain any

 potentially relevant Documents or ESI:

  Device Type         Size (e.g., 32 GB)    Nature of Responsive Documents on Device
  (e.g., iPhone 7)




        I certify under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed on _____________.

                                                      _________________________________

                                                                       Party
